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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 0:23-cv-62073-WPD


  SONY MUSIC ENTERTAINMENT; SONY
  MUSIC ENTERTAINMENT US LATIN LLC;
  ULTRA RECORDS, LLC; LAFACE RECORDS
  LLC; ARISTA MUSIC; ARISTA RECORDS, LLC;
  RECORDS LABEL, LLC; and ZOMBA
  RECORDING LLC,

                                 Plaintiffs,

                         v.

  OFRA COSMETICS, LLC; OFRA COSMETICS
  HOLDINGS, LLC; CARINE TREZZA; DAVID
  GAITO; and DOES 1–10,

                               Defendants.



                     ORDER DENYING MOTION WITHOUT PREJUDICE

         THIS CAUSE is before the Court upon Plaintiffs’ Motion to Strike Affirmative Defenses

  in Defendants’ Answer to the Amended Complaint, filed March 5, 2024. [DE 22] (“Motion”).

  The Court has considered the Motion and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED that the Motion [DE 22] is hereby

  DENIED WITHOUT PREJUDICE to file a motion that complies with the requirements of

  S.D. Fla. L.R. 7.1(a)(3), which requires the moving party to certify that it has conferred, or

  describes a reasonable effort to confer, with the parties affected in a good faith effort to resolve

  the dispute.
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         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

  5th day of March 2024.




  Copies furnished to:

  Counsel of Record
